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                                                       September 22, 2020


Via e-filing
Hon. Claire C. Cecchi, U.S.D.J
MLK Jr. Federal Bldg. & U.S Courthouse
50 Walnut Street
Newark, New Jersey 07102

          Re:         Rontez Miles v National Football League
                      Civ Action No. 2:19-cv-18327 (CCC-MF)

Dear Judge Cecchi:
         The       undersigned             represents           Plaintiff        Rontez      Miles         in     the

above-referenced matter.                            Please accept this letter in lieu of a

more       formal          brief          in     opposition        to   the      Defendant,             National

Football League's                     ("NFL" or "Defendant")                motion to dismiss the

complaint pursuant to Federal Rule of Civil Procedure                                                   ("FRCP")

12(b)(6).              The motion is returnable on October 5, 2020.                                      For the

second time in this case, Defendant moves to dismiss Plaintiff's

complaint             on       the    same        baseless       grounds      that       this       Court         has

already largely rejected.                             Defendant rehashes the same arguments

it provided the last time and offers nothing new, which exposes

its motion for what it really is:                                  an attempt to further delay

adjudication of Plaintiff's claims. Accordingly, for the reasons

set      forth         below         as    well       in    Plaintiff's          first     opposition               to
                                                            1
                 Monmouth County Office: 710 Tennent Road, Suite 101 • Manalapan, :r,qJ 07726
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    motion       to    dismiss,       which   is     incorporated fully            herein       and on

    which        Plaintiff       relies,      Plaintiff       respectfully            requests       that

    this Court deny Defendant's motion to dismiss.

                                           LEGAL STANDARD

            A motion to dismiss brought under FRCP 12 (b) ( 6)                             tests the

    legal sufficiency of a complaint.                        A complaint requires only a

    "short and plain statement of the claim showing that the pleader

    is   entitled         to    relief."      Fed.    R.     Civ.    P.     B(a) (2).         "At     the

    pleading stage,            general factual allegations of injury resulting

    from the          defendant's       conduct may suffice,              for    on a motion to

    dismiss [the court]               'presum [es]    that general allegations embrace

    those specific facts that are necessary to support the claim.'"

    Lujan v.          Defs.    of Wildlife,        504 U.S.      555,     561    ( 1992)   ( citation

    omitted).            A     complaint      does     not      require         detailed       factual

    allegations; it simply must plead "enough facts to state a claim

    to relief that is plausible on its face." Bell Atlantic Corp. v.

    Twombly, 550 U.S. 544, 570 (2007).

            In    this        case,    Defendant       argues       again       that    Plaintiff's

    claims       are    pre-empted and must             be    dismissed         per    §301     of   the

    Labor Management Relations Act                    ("LMRA")      29 U.S.C. §185            (§301") . 1

    The NFL's position must be rejected.

   1  As discussed infra,   the NFL through the same nation~l counsel has
   unsuccessfully made this argument before, including in Dent et als v.
   National Football League 902 F. 3d 1109. ( 9 th Cir, 2018). Dent is one of the
   most recent circuit court decisions on the issue of §301 preemption.
   Notably, while it is a published opinion, it is not mentioned;. let alone
   cited by the NFL.
                                         2
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          On a Fed R. Civ.          P. 12(b) (6) motion, only the complaint is

    reviewed,         defenses     are     not        considered.              This     includes

    Defendant's        argument     that    a     collective           bargaining      agreement

    ( "CBA")    is     somehow      implicated         here.      Caterpillar,         Inc.     v.

    Williams,     482     U.S.     386,    386       (1987),      Dent,       supra    at    1116.

    Defendant's        argument    requires       analysis        of    its    defenses.        As

    noted herein,       the vast majority of the cases cited by Defendant

    were decided well after the pleading stage.

         As     set    forth     below,    Plaintiff        submits       that    he   has    pled

    sufficient facts for this Court to deny Defendant's motion.

                                                 ARGUMENT

    I .  PLAINTIFF' S CLAIMS DO NOT REQUIRE AN INTERPRETATION OF THE
    COLLECTIVE   BARGAINING   AGREEMENT  AND  THEREFORE   CANNOT  BE
    PREEMPTED BY THE LMRA.

         We note at the outset that Defendant seeks a FRCP 12 (b) (6)

    dismissal relying primarily on cases issued at summary judgment

    or a later stage,          not at the pleading stage.                  Even if one were

    to ignore this simple basis as to why Defendant's motion must

    fail, its arguments themselves do not support its position.

         Defendant       begins     its     analysis       by     citing      Allis    Chalmers

    Corp. v Lueck, 471 U.S. 202             (1985) for the proposition that §301

    preempts     state    law     when     the    claims       that     are      "substantially

   dependent" on or "inextricably intertwined" with the terms of a

    collective bargaining agreement                  ( "CBA") .   Defendant's brief p. 7.

   However, as Defendant concedes, this standard requires a finding

                                                 3
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    that §301 only applies if this court is required to "interpret"

    the terms of the CBA.               Id.       (citing Snyder v Dietz               &   Watson, Inc.,

    837 F.     Supp 2d.      428,       439       (D.N.J.     2011)).      Similarly,         Defendant's

    reliance on Angst v. Mack Trucks,                          Inc.,      969 F.2d 1530, 1536 (3d

    Cir.     1992)       further     reinforces              the       point    that       preemption    is

    applicable only "if the resolution of a state-law claim depends

    upon     the        meaning     of        a     collective            bargaining         agreement."

       ( emphasis added)      See also,             Defendant's citation to Rutledge v.

    Int'l    Longshoremen's Ass'n,                     701   F.    App'x 156,          162n.2   (3rd Cir

    2017)    and others           on page         13    of its brief in support                   of this

    principle in the Law Against Discrimination ("LAD") context. 2

            On the other hand, if Your Honor does not need to interpret

    the CBA, as Plaintiff submits is the case here, then Plaintiff's

    claims are not preempted by §301.                             Where Plaintiff and Defendant

    di verge      is    Defendant's       distortion of what                    Plaintiff is         asking

    this Court to determine and what Plaintiff actually seeks.

            Defendant       misrepresents               that       Plaintiff      is       asking     "this

    Court    to    determine        the       parties'         rights      and    obligations         under

    their    [CBA] . " Defendant's brief p. 8.                          This is simply not true.

    Defendant          disingenuously         inserts          its      "Official       Playing      Rules"

    into    the    equation        in    an       attempt         to    bring    Plaintiff's         claims

   within         the     LMRA.           For          example,         Defendant          states,     that

   2
    It is difficult to discern if defendant is claiming that the CBA created any
   rights being asserted by Plaintiff in this matter or the second prong of the
   analysis, which would result in preemption only if the claims require
   interpretation of the CBA.   It appears that Defendant skips the first prong
   entirely.
                                         4
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    "Plaintiff's claims concern an injury that he asserts was caused

    when     in    accordance        with     the    Official         Playing       Rules,        an   NFL

    equipment       judge         refused    to    allow        him   to    wear    an      eye    shield

    during the game." Defendant's brief p. 8.

            Plaintiff does           not    cite     or    rely on the            Official        Playing

    Rules,    nor       is   he    asking this       Court        to determine           the parties'

    rights        and    obligations         under        the     CBA.        To     the     contrary,

    Plaintiff seeks to hold Defendants responsible for violations of

    State and federal law.                  Whether Defendant's equipment judge was

    following       the      procedure      set     forth       in· in      the    NFL' s    "Official

    Playing Rules"           is    irrelevant here.               Plaintiff has          not      alleged

    that the equipment judge was not following the Official Playing

    Rules.        Plaintiff concedes that his request to wear a protective

    eye     shield may not           have been       in compliance with the Official

    Playing Rules.            To state it colloquially:                     "so what."            The CBA

    has no bearing on Plaintiff's claims and nothing herein remains

    to be "interpreted" under it. The terms of the Official Playing

    Rules are presumably clear (and Plaintiff has no need to dispute

    them)     and       therefore,      there       is     no     need      for    this      Court      to

    interpret them. The issue is whether the NFL waived its right to

    rely on the rules by continually permitting Plaintiff to plaf in

   practice and regular season games wearing his protective shield.

   This is clearly a jury issue which §301 simply does not address.

            In an excellent law review article,                            Protecting       Common     Law


                                                     5
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    Rights         of      The       Unionized           Worker;       Demystifying                 Section      301

    Preemption,            138 University of Baltimore Law Review vol.                                        4 6 pp

    107-137        by      Phillip          J.     Closius      (law    professor,                 University     of

    Baltimore           Law      School)         the     author    makes              the    point     that     §301

    preempts tort claims which are in fact                                   contract claims.                 Id at

    10 9.    This       is     not       such a     case.      Rather,        this          case    is based on

    rights         conferred               upon        Plaintiff         by            New      Jersey         anti~

    discrimination                statute          and     general       tort               (negligence)        law.

    Defendant cannot overcome this simple fact.                                   3



             Even though it is Defendant's burden to persuade the Court

    that      Plaintiff's                Complaint       requires       an    interpretation               of    the

    CBA,     it has completely failed to supply any analysis of why the

    interpretation of CBA is needed here.                                 It simply self-servingly

    concludes that a                 court must interpret the CBA to determine if

    the      NFL        had     _any       duties        in     light        of        the     allocation         of

    responsibilities between various entities, none of which are the

    Defendant. Defendant's brief p.10.                             The question remains: why is

    any interpretation necessary?

             Plaintiff has pled that he has                             utilized a protective eye

    shield his entire football career                             (which included three seasons

   in       the    NFL        prior        to    his      injury).       First              Amended    Complaint

       ("Comp.")        '.l['.1[24-25.       The    NFL       argues     that          it     exerts     and    has

   3
    While Defendants have cited a series of unpublished decisions to bolster its
   position, Professor Closius points out that many courts have misconstrued the
   breadth of §301 preemption.  Defendant attempts to exploit this
   misconstruction.
                                          6
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    exerted       control        over    equipment           that     players          are     permitted        to

    use. Comp. iil0-11. To wit, Defendant employs an equipment judge

    at     each      game    to     inspect           players'           uniforms           and     equipment,

    ostensibly,        to    ensure        compliance             with      NFL's       equipment        rules.

    Comp.    i29.      For at least three                   (3)    seasons NFL equipment judges

    have observed Plaintiff using a protective shield on his helmet

    and permitted him to do so in every game.                                       Comp.    i30.        Through

    this     action,        Defendant           had     tacitly           or      implicitly          approved

    Plaintiff's use of the protective shield regardless of the terms

    of its Official Playing Rules or any provision of the CBA, Comp.

    ii32-24.          It    is     utterly           irrelevant           whether           under     the      CBA

    Defendant had any duty it breached or if the CBA conferred any

    specific rights on the parties. 4                             Rather,      by its continuous and

    consistent conduct in permitting Plaintiff to use a tinted face

    shield in every game for which he suited up, the NFL waived any

   provision of the CBA or NFL's Official Playing Rules addressing

    the     issue.      A waiver may             result           from    a      party's       conduct.        See

    gen.,    Meehan ts      Ind.        Corp.    v    Eggleston,            37      N. J.    114,    130,      132

       (insurance carrier waived right to control defense of a lawsuit

   and decide on settlement by its conduct in failing to assert its

    right to do so even in face of an allegations of fraud in the

   procurement of the policy).

            See   Green     v.    Arizona        Cardinals           Football          Club,      LLC,    21    F.

   4
    Clearly, Plaintiff is           not    asserting        any     breach     of    any    right   by   the   NFL -
   conferred by the CBA.
                                                        7
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    Su pp .    3 d 10 2 0     ( E . D. Mo . 2014 ) .           "The merits of the plaintiffs'

    claims can be evaluated without interpreting any of the                                              [CBAs'J

    terms."       Id.    at     1023.           The    plaintiff's            claims        were    based       on

    common law duties to maintain a safe working environment, not to

    expose      employees          to   unreasonable             risks       of     harm,     and    to       warn

    employees about the existence of dangers of which they could not

    reasonably be expected to be aware.                              Id.    at 1024.         The CBA would

    not have any bearing on these claims or Plaintiff's claims of

    waiver. Id. at 1030.                Green         further held a CBA does not have any

    bearing on common law duties of an employer "'to inform himself

    of   those matters             of   scientific             knowledge'          that     relate       to    the

    hazards       of    his     business         and     to     relay        that     knowledge          to    his

    employees." Id.            (citing Marsanick v. Luechtefeld, 157 S.W.2d 537

    (Mo. Ct. App. 1942)).

              Similarly,        the     9 th     Circuit         in        Dent,     supra,.       held       that

    Plaintiffs'          (who      were        retired         NFL    players)        claims        were       not

   preempted by §301 as the claims were predicated on state laws

    concerning prescription medications                               and other        claims       based on

    state tort law including negligence.                                   The Court found that the

   claims       made     by     Plaintiffs            did      not    arise        from     any     contract,

   including           the    CBA,      nor      was     any         interpretation           of     the      CBA

   necessary.           This is the same in this case.

          Likewise,           in      Dent      the     9 th     Circuit           rejected        the     NFL' s

   argument which it makes in this case, that in order to determine

                                                         8
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    "duty" in the negligence context,                      the court must determine the

    obligations of the NFL and its member teams pursuant to the CBA.

    The Court indicated that while the CBA addressed certain issues

    concerning player health and safety,                        the CBA does not "address

    the NFL' s liability" for causing injury to the players.                                     902 F.

    3d,    at 111.     This is what Plaintiff claims in this action;                                the

    NFL caused his injury.

            At best,       the NFL can argue that the Court might need to

    refer     to     the    CBA     in     some     way.          Referencing         a     CBA     and

    interpreting a CBA are two different things.                               See Williams v.

    N.F.L.,    582 F. 3d 863, 876-77                (8 th Cir. 2009)      (citing Livadas v.

    Bradshaw,      512     U.S.     107,        124-25        (1994))    (holding         that     mere

    consultation to a CBA "is insufficient to warrant preemption of

    an    otherwise      independent        state       law    claim."     Reading         the     CBA,

    without     interpretation,          reveals         what     Plaintiff     is    willing        to

    concede:       the     CBA     contains         a    procedure       for     requesting           a

    protective shield to be attached to a player's helmet. See Brown

    v.    Holiday Stationstores,            Inc.,       723 F. Supp. 396,        407       (D. Minn.

    1989) (determining           that,     by    mere     reference       to   the        CBA,     LMRA

    preemption       was    improper        where        the    plaintiff's      claim           sought

    redress for discrimination on the basis of handicap, and the CBA

    in    question     "contained no            provision       protecting      the       rights     of

    handicapped workers").

           Moreover, to the extent that any requirement in the CBA was

                                                    9
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    implicated,             Defendant by its actions waived it.                                   In addition to

    the   facts       stated above,                 it   should be noted that                         Plaintiff was

    also subjected to numerous physical exams by the New York Jets

    ("Jets"),         the        team        Plaintiff         played          for    at     the       time    of    the

    injury.    Comp.            118.         In the report of his last medical exam and

    believed to be noted in each exam from his previous three                                                        (3)

    seasons    with             Jets,    is    a    section titled "Past                        Ocular History,"

   which    notes           Plaintiff's             condition.           Comp.       119.         As    the    NFL    is

    essentially             a    cooperative,            the        knowledge        of     the       Jets    must    be

    imparted to the NFL.                      Accordingly,               Defendant was fully aware of

    Plaintiff's             condition         and his          continued use               of    the     tinted eye

    shield to block light and protect him from the adverse effects

   of light         for         three    years.          By Plaintiff's                fourth         year,    due    to

    its   continued              acquiescence            in     Plaintiff's            use       of    the     shield,

    Defendant had waived any CBA requirement addressing this issue.

           Unable to satisfy its burden of persuasion that the                                                    state

   court    claims              are    pre-empted by §301                   (See      Williams,          supra,      582

   F. 3d at        8 8 0)       on the       basis       of the Amended Complaint,                           Defendant

   turns      to      its        status        as    Plaintiff's               co-employer.                  Defendant

   contends            that            its      status              as     a         co-employer              requires

   interpretation                of     the    CBA.           This       argument          again       attempts       to

   avoid rights derived not from the CBA but from state and federal

   law.     Defendant argues that Plaintiff's player contract with the

   Jets    "expressly states                    that      the       Club,       and not         the     NFL    is    the

                                                               10
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    Player's employer." Defendant's brief, p.13-14.                            This is akin to

    an     employer         contending     that   if    an   employee     signs       a    contract

    stating that he/she is an independent contractor, then no matter

    how much control the "employer" exerts over the individual, that

    employee is an independent contractor because the contract says

    so.         Regardless,     how the player contract between Plaintiff and

    the Jets requires an interpretation of the CBA is not explained

    by the Defendant.               It is also likely that Defendant's reference

    to     a    document      not   referenced     or    relied    on     in    the       Complaint

    converts this motion into one for summary judgment.                               It must be

    stated          that    although   Defendant       argues   that      Player's         contract

    explicitly states that NFL is not the employer, it then                                 (in the

    very next point)            argues     that   Plaintiff's      claims       are barred by

    the workers' compensation exclusivity because it is an employer.

    The status of the relationship is based upon New Jersey law, not

    the unilateral assertions of the NFL, which contravene such law.

               Given that this Court need not interpret any provision of

    the CBA nor do any claims                 raised by Plaintiff arise from the

    CBA,       it    is    respectfully     submitted that        §301    does    not       preempt

    Plaintiff's NJLAD or ADA claims and the motion must be denied.


   II. WHETHER    PLAINTIFF'S  CLAIMS   ARE   BARRED  BY    WORKERS'
   COMPENSATION EXCLUSIVITY REQUIRES A DETERMINATION THAT DEFENDANT
   IS AN EMPLOYER WHICH CANNOT BE DECIDED IN A RULE 12(b) (6) MOTION
   TO DISMISS.

               After      arguing   that   Plaintiff's       player      contract         expressly

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    states      that     Defendant       is        not    Plaintiff's             employer,          Defendant

    contends      that        Plaintiff's           claims       against           it     are     barred       by

    exclusivity         of     the      New        Jersey        Worker's           Compensation             Act,

    N.J.S.A.      34:15-1        et     seq.        ( "WCA") .             Defendant          asserts        that

    because      Plaintiff        has        alleged          that     it     is        his     co-employer,

    Defendant should gain all the benefits of that status, but none

    of    the    obligations          that     come       with       it.     See    Defendant's             brief

    p.17.       Within the same motion,                   Defendant has created a disputed

    fact,       whose     resolution           is        necessary          to      determine"         whether

    Plaintiff's claims can be dismissed at this stage.

            Defendant has refused to concede that it is an employer; it

    has     argued      the    opposite.           See    Defendant's             brief,        p.13-14.       If

    Defendant is not an employer, the WCA does not apply.

            Moreover,         while     Defendant             appears        to     suggest          that     the

    exclusivity         provision       of     the       WCA     always          bars     all     claims       by

    employees against employers,                     this      is not true.               See Laidlaw v.

    Hariton Mach.         Co.,       Inc.,     170 N.J.          602,       605     (2002)       (explaining

    that every conduct by employer is not immune from a common-law

    suit);      N.J.S.A.        34:15-8.             The       New         Jersey       Legislature           has

    declared that "an employer who causes the death or injury of an

    employee      by     committing           an     "intentional             wrong"          will     not     be

    insulated from common-law suit." Id. at 605-606 (citing N.J.S.A.

    34: 15-8).       In Laidlaw,         the Court explained that an "intentional

    wrong" can be shown, not only by proving a subjective desire to

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    injure,      but    also       by    a    showing,      based     on    all    the     facts    and

    circumstances of the case,                  that the employer knew an injury was

    substantially certain to result." 170 N.J. at 614,                              617     (emphasis

    added) .        Furthermore,         there is a crucial second prong:                    a court

    must     also      assess      "whether       the     injury      and    the    circumstances

    surrounding it were part and parcel of everyday industrial life

    or plainly outside the legislative grant of immunity."                                    Id.    at

    614-615, 61 7.

            Here,    the    facts       and circumstances            known at       this    earliest

    stage of litigation are that Defendant owed Plaintiff a duty to

   provide a         safe workplace.            After allowing Plaintiff to use the

    protective       equipment          for    three     ( 3)    years,     Defendant,      suddenly

    and     at   game      time,        refused   to      permit      Plaintiff      to     use     the

   protection he had used during his entire career.                                Defendant knew

   that because of Plaintiff's health condition, this refusal would

   create an unsafe situation for Plaintiff when playing a violent

    sport    like professional                football     under bright           stadium lights.

    In short,       Defendant knew or should have known that injury would

   occur because of Plaintiff's vision issues.                               Defendant's action

   made it substantially certain for                            Plaintiff would be injured. 5

   His intense photosensi ti vi ty would preclude his ability to see

   approaching players under many circumstances.                               Plaintiff did in


   5
    Defendant argues that football is a recognized dangerous activity. Yet, it
   ignores that it increased the risk of injury to Plaintiff by all of a sudden
   denying him the use of his protective face shield.
                                         13
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    fact suffer severe and permanent personal injuries,                          as a result

    of,    Defendant's         action.        Working        in   an   environment,     without

    proper safety equipment, cannot be said to be part and parcel of

    everyday      work     life.            Accordingly,          Plaintiff     has     alleged

    sufficient facts to sustain his complaint at this stage of the

    litigation.

            The Court in Laidlaw noted, whether the removal of a safety

    guard can meet the intentional wrong standard is a case-by-case

    determination        and    a    jury    issue      on    substantial     certainty.     170

    N.J.    at 619.   Only Defendant can shed light on what appreciation

    it     had   concerning         the     risk   of    injury        associated     with   its

    decision to bar Plaintiff from wearing a safety visor, needed as

    a result of, his medical condition. See id.

                 The    appreciation    of  danger   can be
                 obtained in a myriad of ways other than
                 personal       knowledge     or    previous
                 injuries. Simply because people are not
                 injured, maimed or killed every time
                 they encounter a device or procedure is
                 not     solely    determinative    of   the
                 question of whether that procedure or
                 device is dangerous and unsafe. If we
                 were     to     accept    the    appellee's
                 reasoning, it would be tantamount to
                 giving every employer one free injury
                 for every decision, procedure or device
                 it decided to use, regardless of the
                 knowledge or substantial certainty of
                 the danger that the employer's decision
                 entailed.             It is not incumbent
                 that a person be burned before one
                 knows not to play with fire. Id. at 621
                  (quoting Cook v.       Cleveland Electric
                 Illuminating Co., 102 Ohio App. 3d 417
                  (1995)).
                                                   14
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            This is impossible until discovery is had on this issue.

            Moreover,         New     Jersey    Supreme              Court     has        reiterated          and

    explained          Laidlaw's      expansion               in   Crippen         v.     Central           Jersey

    Concrete Pipe Co.,              176 N.J.        397,       410    (2003).           There,       the Court

    found that an employer's failure to properly implement a permit-

    required       confirmed         space     entry-program                 created          a     substantial

    certainty          that    an     injury        or        death     would           result       from     the

    dangerous conditions of the confined spaces.                                   Id.        Thus,     Laidlaw

    and its progeny demonstrate the New Jersey's clear commitment to

    appraise an employer's conduct and remove the exclusivity bar to

    an employee's claim of negligence in appropriate cases.

            Accordingly,        and based on the                     facts    and circumstances                of

    this case known at this initial pleading stage of litigation, it

    is clear that Plaintiff has pled sufficient facts to sustain the

    Complaint under the exception to the exclusivity bar of the WCA.


   III. PLAINTIFF HAS ALLEGED SUFFICIENT                                 FACTS           TO       SUPPORT     HIS
   CLAIMS OF DISABILITY DISCRIMINATION.

            Defendant         alleges        that        Plaintiff           did        not        submit     his

   discrimination claim under the Americans with Disabilities Act

    ("ADA") to           the         u. s.          Equal             Employment                   Opportunity

   Commission("EEOC") within 300 days of the alleged discriminatory

   act      and   received      a     "right    to        sue"       letter     before             filing    this

    suit.         Defendant         relying    on        unpublished           cases,             asserts    that

   failure        to    satisfy       this     prerequisite             means           Plaintiff       cannot
                                                         15
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    maintain a disability discrimination claim under the ADA.

            Plaintiff concedes that he did not file his discrimination

    claim     under      the    ADA        with    the        EEOC    within         300      days    of    the

    discriminatory act.               The reason is Plaintiff commenced this suit

    in   state     court       for    violation           of    the     New     Jersey        Law    against

    Discrimination          ("NJLAD"),           where        there    is     no     such     requirement.

    When Defendant removed the complaint.to federal court, Plaintiff

    added the ADA claims because for the same reasons that Defendant

    committed disability discrimination against Plaintiff under the

    NJLAD also exist under the ADA.

           Whether under the ADA or the NJLAD, the analysis of whether

    Plaintiff      has      stated         a     claim        for     disability           discrimination

    remains      the    same.         The       ADA' s    discrimination             sections        require

    litigants to establish that they are qualified indi victuals with

    disabilities.        The ADA defines disability as "(A)                                a physical or

   mental     impairment            that    substantially limits                   one     or more major

    life    activities         of    such        individual;          (B)   a      record      of    such    an

    impairment; or (C) being regarded as having such an impairment."

    42 U.S.C. § 12101(1)              It goes on to explain that                         [a]n individual

   meets     the       requirement          of    "being        regarded        as       having      such    an

    impairment"        if   the      individual          establishes            that     he    or    she    has

    been    subjected          to     an       action     prohibited            under       this     ~hapter

    because of an actual or perceived physical or mental impairment

   whether or not the impairment limits or is perc~ived to limit a

                                                         16
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    major life activity. Id. §12102 ( 3) (A) .

           To    establish               a      prima            facie            case      of         disability

    discrimination              under         the        NJLAD         based        on      a      failure              to

    accommodate,           a    plaintiff           must        only    establish           that           1)    he     is

    disabled     within           the     meaning          of     the         NJLAD;       and        2)        he     was

    qualified        for       the    job;     See        Richter        v.       Oakland        Ed.        Of       Educ.

    Richter     v.    Oakland           Ed.    of        Educ.,        459    N.J.       Super.         400          (App.

    Di V.) ,          certif.         granted                   (2019)        (holding that no adverse

    employment         action           is     required            to         establish            failure              to

    accommodate        claim          under     New        Jersey        law);       cf.        Conoshenti              v.

    Public Service Elec.                & Gas       Co., 364 F.3d 135, 150 (3d Cir. 2004)

    (quoting Eosshard v.                 Hackensack             University Medical                    Center,          345

    N.J.   Super.     78,       91    (App.     Div.       2001)); but see Seiden v. Marina

    As socs.,    315           N.J.     Super        451        (App.        Div.        1998)         ( concluding

   McDonnell     Douglas             disparate treatment analysis not necessary in

    failure to accommodate disability claim).

           Defendant is well aware of Richter, because it cited it in

    its brief.       Defendant's brief p.22.                           Rather than identifying the

    case's holding for this Court and its applicability to the facts

    of this case,          Defendant disingenuously uses it to imply that an

    adverse     employment            action        is    required           to    sustain        a     claim for

   disability discrimination based on a failure to accommodate. See

    id.

           Defendant's sole argument in support of its position that

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    Plaintiff cannot support a                claim for disability discrimination

    under the LAD is that he failed to plead facts                                    to support an

    adverse employment action.                As noted above, currently this is no

    longer required under New Jersey law.

            In    Richter,       plaintiff,    a     middle        school       teacher,     suffered

    from Type 1 diabetes.                459 N.J.    Super.        at 407.       During the 2012-

    2013    school       year,     Plaintiff        was    assigned        to     cafeteria    duty,

    which meant she could only eat her lunch from 1:05 p.m. to 1:49

    p.m.    Id.    at    408.      Given her medical               condition,         the plaintiff

    believed that eating lunch that late in the day would negatively

    impact her blood sugar                levels     and she        asked the principal              to

    permit her to eat lunch earlier in the day.                             Id.       The principal

    did    not    accommodate        this     request        and    refused        to   change      the

    schedule,       nor      did    the     employer         engage        in     a     (documented)

    interactive          discussion         regarding           plaintiff's           accommodation

    request.             Subsequently,         the        plaintiff         suffered         from     a

    hypoglycemic episode that caused her to have a seizure,                                   become

    unconscious and hit her head and face on a table and the floor,

    which resulted in serious and permanent injuries. Id. at 409.

           The Appellate Di vision found that the plaintiff was under

    no     obligation      to      demonstrate        that      she    suffered         an   adverse

    employment          action      to     sustain        her      claim        for     failure     to

    accommodate her diabetes under the NJLAD because she was "forced

    to    'soldier on'       and continue working without an accommodation.

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    Id. at 416 (quoting Victor v. State, 203 N.J. 383, 421 (2010)).

                 Given    the     LAD' s    broad    remedial
                 purposes, the Court believed that it
                 was time to "chart a course to permit
                 plaintiffs to proceed against employers
                 who    have     failed      to    reasonably
                 accommodate their disabilities or who
                 have failed to engage in an interactive
                 process even if they can point to no
                 adverse   employment     consequence    that
                 resulted.   Such cases would be unusual,
                 if not rare, for it will ordinarily be
                 true that a disabled employee who has
                 been    unsuccessful     in    securing   an
                 accommodation will      indeed suffer an
                 adverse employment consequence." Id. at
                 414-15   (quoting Victor,      203 N.J. at
                 421) .


           The    Appellate        Division          found      that        the      plaintiff's

    circumstances       "cry out     for    a   remedy."       Id.     at    416     (citing 203

    N.J. at 421)   ,6


           Similarly,       the   facts    before     this     Court       are     such    that    it

    cries out for a remedy.               It cannot be disputed that Plaintiff's

    condition     is    a     disability.            With      respect       to      major      life

    activities,    in the ADA Amendments Act of 2008                        (ADAAA),      Congress

   added    a    non-exhaustive        list     to    the    statute.             " [M] aj or   life

   activities include, but are not limited to,                         caring for oneself,

   performing manual          tasks,      seeing,      [and]    hearing."           42    U.S.C.    §


   12102 (2) (A) (emphasis        added).        Under       Title     I     of     the    ADA,    a

   "qualified individual"           is     "an individual who,              with or without

   6
    The Appellate Division also discussed the fact that the Worker's.Compensation
   statue and the NJLAD address different issues hence both claims can be
   brought within the same lawsuit.
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    reasonable accommodation, can perform the essential functions of

    the employment position that such indi victual holds or desires."

    42    u.s.c.        § 12111(8).          Prior to the incident, Plaintiff, despite

    his    disability,            played       professional          football       in       the    NFL    for

    three        ( 3)    years,       with the       eye        shield attached to            his   helmet.

    Accordingly, at least for the purposes of this motion, Plaintiff

    has     established               that   he     is     a     qualified       individual         with     a

    disability who could perform the duties of his employment with

    accommodation.

            The fact that Defendant forced him to remove his eye shield

    and soldier on,               lead to his severe injuries.                     This is precisely

    what occurred in Richter.

            It     should be           noted that          the    cases     cited by Defendant              in

    support         of    its     position          on    this     issue     all    occurred        at     the

    summary judgment stage or later.

            Defendant           also     claims      (without       proof)       that    Plaintiff         has

    not     alleged             facts        that        demonstrate        that        he     "requested

    accommodations or assistance for                            [his] disability," and that his

    "employer           made     no     good      faith     effort     to    assist."         Defendant's

    brief p.23.            It appears that Defendant would like the Court to

    ignore paragraphs 35-45 of the First Amended Complaint so that

    it    can      present        a     colorable         argument.         In     those      paragraphs,

    Plaintiff asserted that just prior to a game, an equipment judge

    working for the NFL demanded that he remove his eye shield,                                            or

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    he would not be permitted to play in the game. Comp. 136.                                This

    same judge had permitted Plaintiff to utilize the shield and had

    not indicated to Plaintiff or the Jets in the past, that the eye

    shield was a      violation of Defendant's                rules or that Plaintiff

    would not be permitted to play with the                       shield in use.            Comp.

    137.     This judge was advised by Plaintiff or was otherwise aware

    of     Plaintiff's     medical       condition      and    the   need       to   wear     the

    protective shield. Comp. 139.               Despite, the equipment official's

    clear knowledge of Plaintiff's medical condition/disability and

    the need to wear the protective shield,                      the official demanded

    that Plaintiff remove the shield or not play in the game. Comp.

    140.     Plaintiff sought a reasonable accommodation i.e.                         the use

    of the protective shield in order to perform the requirements of

    his    job.   Comp.    143.      Defendant,        through    its   official,      denied

    Plaintiff a reasonable accommodation. Comp. 144.

           Nothing    more        need   be     pled    to    support       a    failure       to

    accommodate claim.            Plaintiff has pled what Defendant demands,

    i.e.    that he made his employer "aware of the basic need for an

    accommodation,        yet his employer "failed to provide a reasonable

    accommodation." Defendant's brief p. 23                   ( quoting Royster v.          N. J.

    State Police,     227 N.J.       482,500      (2017)).       Accordingly, Plaintiff

    has unequivocally stated a                "failure to accommodate" disability

    discrimination claim under the ADA and the NJLAD.



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                                    CONCLUSION

         Based on the forgoing it is respectfully requested that

    Defendant's motion be denied in its entirety.



                                      Respectfully submitted,




                                      Lawrence N. Lavig
                                      Jignesh J. Shah




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